CaSe 8-18-71102-|&8 DOC 23 Filed 08/08/18 Entered 08/08/18 12237:56

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:
Case No. 18-71102 (LAS)
HOWARD W. SCHWARTZ,
Chapter 7
Debtor,
X
STATE OF NEW YORK )
) s.s.:
COUNTY OF SUFFOLK )

 

COOPER J MACCO, being duly sworn deposes and says: deponent is not a party to this
action, is over 18 years of age and resides in Huntington, New York.

On August 8, 2018, deponent served the Within:

¢ ORDER AUTHORIZING THE TRUSTEE TO ISSUE SUBPOENAS FOR THE
PRODUCTION OF DOCUMENTS AND AUTHORIZING THE TRUSTEE TO
EXAMINE THE DEBTOR (entered August 8, 2018)

¢ SUBPOENA TO TESTIFY AT A DEPOSITION IN A BANKRUPCTY CASE (OR
ADVERSARY PROCEEDING

upon the following parties at the addresses designated by said parties for that purpose, by
depositing a true copy of sarne, enclosed in a post-paid properly addressed Wrapper in an official
depository under the exclusive care and custody of the United States Postal Service Within the
State of New York:

 

TO: DEBTOR DEBTOR’S COUNSEL
Howard W. Schwartz Michael A. King
44 Cleveland Avenue 4l Scherrnerhorn Street
Glen Head, NY 11544 PMB 228

. . . . 1
Blu§]l~jyn.NYll I

/

L----"' ti't/)!SPER J MACCo
Sworn to before me this

@_thdayof gv.\f,§; .2018
%:44

NOTARY PUBLIC

LON| EF?AG|N
Notary Pub|ic, Stnte of New York
NO. 01BF(6172194
Qua|itied in Suffolk County
Commission E)<pires Augus ' 6, } L` \ °\

